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                            IN THE UNITED STATES DISTRICT COURT
1                            FOR THE EASTERN DISTRICT OF TEXAS
2
                                                      §
3    Samuel Monrial,                                  §
                                                      §
4                         Plaintiff,                  §      Civil Action No.
                                                      §
5         v.                                          §
                                                      §
6    Platinum Plus Auto Protection,                   §      Jury Trial Demanded
                                                      §
7
                           Defendant.                 §
                                                      §
8
                                                      §
9
                                              COMPLAINT
10
            Samuel Monrial (Plaintiff), by and through his attorneys, Kimmel & Silverman, P.C.,
11
     alleges the following against Platinum Plus Auto Protection (Defendant):
12
                                            INTRODUCTION
13

14
            1.       Plaintiff’s Complaint is based on the Telephone Consumer Protection Act

15   (“TCPA”), 47 U.S.C. §227, et seq. and § 302.101 of the Texas Business & Commercial Code.

16                                     JURISDICTION AND VENUE

17          2.       This Court has subject-matter jurisdiction over the TCPA claims in this action

18   under 28 U.S.C. § 1331, which grants this court original jurisdiction of all civil actions arising
19
     under the laws of the United States. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 386-87
20
     (2012) (confirming that 28 U.S.C. § 1331 grants the United States district courts federal-
21
     question subject-matter jurisdiction to hear private civil suits under the TCPA).
22
            3.       Supplemental jurisdiction for Plaintiff’s related state law claims arises under 28
23
     U.S.C. §1367.
24

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            4.      This Court has personal jurisdiction over Defendant because Defendant regularly
1
     conducts business in the State of Texas and because the occurrences from which Plaintiff’s
2

3
     cause of action arises took place and caused Plaintiff to suffer injury in the State of Texas.

4           5.      Venue is proper under 28 U.S.C. § 1391(b)(2).

5                                                PARTIES

6           6.      Plaintiff is a natural person residing in McKinney, Texas 75070.
7           7.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
8
            8.      Defendant is a business entity with principal place of business, head office, or
9
     otherwise valid mailing address at 575 Anton Street, #100, Costa Mesa, California 92626.
10
            9.      Defendant is a “person” as that term is defined by 47 U.S.C. § 153(39).
11
            10.     Defendant acted through its agents, employees, officers, members, directors,
12
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and/or
13
     insurers.
14
                                       FACTUAL ALLEGATIONS
15

16          11.     Plaintiff has a cellular telephone number ending in 4862.
17          12.     The area code for the number ending in 4862 is 469.
18
            13.     Area code 469 is an area code used in the Dallas area.
19
            14.     Plaintiff has only used this cellular telephone number for residential purposes.
20
            15.     Defendant called Plaintiff on his cellular telephone beginning in or around
21
     August 2019.
22
            16.     Defendant did not have Plaintiff’s consent to call on his cellular telephone
23
     number.
24

25
            17.     Plaintiff did not request information from Defendant regarding an auto



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     warranty.
1
            18.     Plaintiff’s telephone number ending in 4862 has been on the Do Not Call
2

3
     Registry since July 16, 2010.

4           19.     Upon information and belief, when contacting Plaintiff, Defendant used a dialing

5    system which had the capacity to store or call phone numbers using a random or sequential

6    number generator.
7           20.     Upon information and belief, Defendant maintains a stored list of 10 digit
8
     telephone numbers of consumers in its database for communication purposes.
9
            21.     Upon information and belief, Defendant utilize a “predictive dialing system”
10
     which interfaces with software and databases which have the capacity to generate numbers
11
     randomly or sequentially.
12
            22.     The dialing system used by Defendant call phone numbers stored in those
13
     databases.
14
            23.     Accordingly, Defendant’s dialing systems have the capacity to dial numbers
15

16   using a random or sequential number generator.

17          24.     Upon information and belief, Defendant’s dialing systems include equipment

18   which dials from the stored list of 10 digit consumer telephone numbers.

19          25.     Defendant’s dialing systems employ computer code and/or algorithms which
20   result in it randomly or sequentially generating numbers in order to select and dial the stored
21
     10-digit consumer telephone number from the list.
22
            26.     Furthermore, Defendant’s dialing systems use computer code and/or algorithms
23
     to determine the orders/sequence of calls to be automatically dialed.
24

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            27.     The operation of the random/sequential number generator, referred to above
1
     results in Defendant’s dialing system automatically placing calls to the 10 digit telephone
2

3
     numbers in Defendant’s stored list(s).

4           28.     Plaintiff believes and avers that Defendant called him with an automatic

5    telephone dialing system. Plaintiff believes this because Defendant’s calls to Plaintiff began

6    with a noticeable pause or delay prior to a live representative of Defendant coming on the line.
7           29.     While Plaintiff has not had the benefit of discovery, he intends to prove
8
     Defendant utilized an automatic telephone dialing system in the course of discovery.
9
            30.     Defendant’s telephone calls were not made for “emergency purposes” but rather
10
     were to offer solar energy services.
11
            31.     Defendant did not obtain a registration certification from the Office of Secretary
12
     of State prior to engaging in telephone solicitation in Texas.
13
            32.     Plaintiff found Defendant’s repeated calls annoying, frustrating, upsetting,
14
     harassing, and an invasion of her privacy.
15

16          33.     Upon information and belief, Defendants conduct business in a manner which

17   violates the Telephone Consumer Protection Act.

18                                       COUNT I
                         DEFENDANT VIOLATED THE TCPA 47 U.S.C. §227(b)
19
            34.     Plaintiff incorporates the forgoing paragraphs as though the same were set forth
20
     at length herein.
21

22          35.     The TCPA prohibits placing calls using an automatic telephone dialing system or

23   automatically generated or prerecorded voice to a cellular telephone except where the caller has

24   the prior express consent of the called party to make such calls or where the call is made for

25   emergency purposes. 47 U.S.C. § 227(b)(1)(A)(iii).


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                23.   Defendant initiated multiple telephone calls to Plaintiff’s cellular telephone
1
     number using an automatic telephone dialing system.
2

3
                24.   The dialing system used by Defendant to call Plaintiff’s cellular telephone calls

4    telephone numbers without being prompted by human intervention before each call.

5               25.   The dialing system used by Defendant to call Plaintiff has the present and/or

6    future capacity to dial numbers in a random and/or sequential fashion.
7               26.   Defendant’s calls were not made for “emergency purposes.”
8
                27.   Defendant’s calls to Plaintiff’s cellular telephone were without any prior express
9
     consent.
10
                28.   Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do
11
     Not Call Registry since July 16, 2010.
12
                29.   Defendant’s acts as described above were done with malicious, intentional,
13
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
14
     purpose of harassing Plaintiff.
15

16              30.   The acts and/or omissions of Defendant were done unfairly, unlawfully,

17   intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal

18   defense, legal justification or legal excuse.

19              31.   As a result of the above violations of the TCPA, Plaintiff has suffered the losses
20   and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
21
     damages.
22
                                         COUNT II
23                       DEFENDANT VIOLATED THE TCPA 47 U.S.C. § 227(c)

24              32.   Plaintiff incorporates the forgoing paragraphs as though the same were set forth

25   at length herein.


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            33.     The TCPA prohibits any person or entity of initiating any telephone solicitation
1
     to a residential telephone subscriber who has registered their telephone number on the National
2

3
     Do-Not-Call Registry of persons who do not wish to receive telephone solicitations that is

4    maintained by the Federal Government. 47 U.S.C. § 227(c).

5           34.     Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do

6    Not Call Registry since July 16, 2010.
7           35.     Defendant called Plaintiff on multiple occasions during a single calendar year
8
     despite Plaintiff’s registration on the Do Not Call list.
9
            36.     Defendant’s acts as described above were done with malicious, intentional,
10
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
11
     purpose of harassing Plaintiff.
12
            37.     The acts and/or omissions of Defendant were done unfairly, unlawfully,
13
     intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal
14
     defense, legal justification or legal excuse.
15

16          38.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses

17   and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles

18   damages.

19                                       COUNT III
                              DEFENDANT VIOLATED § 302.101 of
20                         THE TEXAS BUSINESS & COMMERCE CODE
21
            39.     Plaintiff incorporates the forgoing paragraphs as though the same were set forth
22
     at length herein.
23
            40.     Plaintiff received all calls from Defendant in Texas and is entitled to other relief
24
     under Texas law.
25



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            41.     §302.101 of the Texas Business & Commerce Code prohibits sellers from
1
     engaging in telephone solicitation from a location in this state or to a purchaser located in this
2

3
     state unless the seller obtains a registration certificate from the Office of the Secretary of State

4    for the business location from which the solicitation is made.

5           42.     Defendant violated § 302.101 of the Texas Business & Commercial Code when

6    its representatives engaged in continuous and repetitive telephone solicitation of Plaintiff
7    without obtaining a registration certificate from the Office of the Secretary of State.
8
            43.     §302.302(a) of the Texas Business & Commerce Code provides that a person
9
     who violates this chapter is subject to a civil penalty of no more than $5,000 for each violation.
10
     Furthermore, §302.302(d) provides that the party bringing the action is also entitled to recover
11
     all reasonable cost of prosecuting the action, including court costs and investigation costs,
12
     deposition expenses, witness fees, and attorney fees.
13

14
            Wherefore, Plaintiff, Sam Monrial, respectfully prays for judgment as follows:
15
                    a.      All actual damages Plaintiff suffered (as provided under 47 U.S.C. §
16
                            227(b)(3)(A)) and §302.302 of the Texas Business and Commerce Code;
17
                    b.      Statutory damages of $500.00 per violative telephone call (as provided
18
                            under 47 U.S.C. § 227(b)(3)(B));
19
                    c.      Additional statutory damages of $500.00 per violative telephone call (as
20

21                          provided under 47 U.S.C. § 227(C);

22                  d.      Treble damages of $1,500.00 per violative telephone call (as provided

23                          under 47 U.S.C. § 227(b)(3));

24                  e.      Additional treble damages of $1,500.00 per violative telephone call (as
25                          provided under 47 U.S.C. § 227(c);


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                  f.      Statutory damages of $5,000 per violation (as provided under
1
                          §302.302(a) of the Texas Business and Commerce Code);
2

3
                  g.      All reasonable attorneys’ fees, witness fees, court costs and other

4                         litigation costs incurred by Plaintiff pursuant to §302.302(a) of the Texas

5                         Business and Commerce Code;

6                 h.      Injunctive relief (as provided under 47 U.S.C. § 227(b)(3) and (c); and
7                 i.      Any other relief this Honorable Court deems appropriate.
8

9
                                   DEMAND FOR JURY TRIAL
10
          Please take notice that Plaintiff, Samuel Monrial, demands a jury trial in this case.
11
                                                Respectfully submitted,
12

13   Dated: 06/01/2021                       By: /s/ Amy L. Bennecoff Ginsburg
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